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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

 Case No. SACV 15-550-JLS (RNBx)                                     Date: November 10, 2015
 Title: Traci Wolbert v. Quality Systems Inc et al.

  Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

       Terry Guerrero                                                   N/A
       Deputy Clerk                                               Court Reporter

 ATTORNEYS PRESENT FOR PLAINTIFF:                 ATTORNEYS PRESENT FOR DEFENDANT:

        Not Present                                               Not Present

 PROCEEDINGS: (IN CHAMBERS) ORDER RE: DISMISSAL OF THIS
              ACTION

        On April 8, 2015, Plaintiff Traci Wolbert filed the instant action against
 Defendants Quality Systems, Inc. and Nextgen Healthcare Information Systems. (See
 Compl., Doc. 1.) Because Wolbert has repeatedly failed to demonstrate that subject
 matter jurisdiction exists in this matter, the Court DISMISSES the action.

         Wolbert filed a Complaint against Defendants on April 8, 2015, asserting that this
 Court may properly exercise diversity jurisdiction over this matter. (See Compl. ¶ 7.) On
 April 20, 2015, the Court ordered Wolbert to show cause why this case should not be
 dismissed for lack of subject matter jurisdiction. (Order, Doc. 11.) The Court noted that
 the Complaint failed to adequately allege (1) the citizenship of all parties and (2) the
 required amount in controversy. (Id. at 1-2.) As to the citizenship of the corporate
 defendants in this case, the Court instructed that a corporation is a citizen of both the state
 where it has its “principal place of business” and the state in which it is incorporated. (Id.
 at 1, citing 28 U.S.C. § 1332(c)(1).) Because Wolbert had failed to allege both the
 principal place of business and the state of incorporation for the corporate defendants, the
 Court gave Wolbert the opportunity to respond or file an amended complaint that
 properly invoked the Court’s jurisdiction.

        On May 4, 2015, Wolbert filed a First Amended Complaint, again asserting that
 this Court may properly exercise diversity jurisdiction over this matter. (See FAC, Doc.

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                        UNITED STATES DISTRICT COURT
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                                CIVIL MINUTES – GENERAL

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 12.) However, Wolbert failed to remedy the jurisdictional issues noted by the Court.
 Although the FAC alleges that both Defendants have their principle place of business in
 Irvine, California, the FAC does not allege where either Defendant is incorporated. (See
 FAC ¶¶ 3-4.) Accordingly, Wolbert has failed to demonstrate that diversity jurisdiction
 exists in this matter. See Fifty Assocs. v. Prudential Ins. Co. of Am., 446 F.2d 1187, 1190
 (9th Cir. 1970) (holding that the plaintiff failed to demonstrate diversity jurisdiction when
 it alleged a corporation’s principle place of business but not its state of incorporation).

         The party asserting diversity jurisdiction bears the burden of proving its existence.
 Lew v. Moss, 797 F.2d 747, 749 (9th Cir. 1986) (citing Resnik v. La Paz Guest Ranch,
 289 F.2d 814, 819 (9th Cir. 1961)). Where the asserting party fails to demonstrate the
 existence of subject matter jurisdiction, the Court must dismiss the action. See Fifty
 Assocs., 446 F.2d at 1189 (“A plaintiff suing in federal court must show in his pleading,
 affirmatively and distinctly, the existence of whatever is essential to federal jurisdiction,
 and, if he does not do so, the court . . . must dismiss the case, unless the defect be
 corrected by amendment.” (quoting Smith v. McCullough, 270 U.S. 456, 459 (1926)).
 Dismissal is particularly warranted here, where Plaintiff failed to demonstrate subject
 matter jurisdiction even after the Court provided a roadmap for her amended complaint.

        Accordingly, the Court DISMISSES this action for failure to demonstrate the
 existence of subject matter jurisdiction.



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